
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 





NO. 2-03-114-CV

JOANNA MOODY	APPELLANT



V.



BRUCE MONROE									 &nbsp;&nbsp;APPELLEE



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FROM COUNTY 
COURT AT LAW NO. 2 OF DENTON COUNTY

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MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

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On July 24, 2003, we notified appellant by letter that her brief had not been filed as required by rule 
38.6(a). &nbsp;
Tex. R. App. P
. 38.6(a). &nbsp;We stated we would dismiss the appeal for want of prosecution unless appellant or any party desiring to continue this appeal filed with the court within ten days a response showing grounds for continuing the appeal. &nbsp;Although have not received a response to our letter, appellant has filed a motion to dismiss appeal.

Because appellant’s brief has not been filed, we dismiss the appeal for want of prosecution. &nbsp;
See
 T
EX
. R. A
PP
. P. 38.8(a), 42.3(b).

Appellant shall pay all costs of this 
appeal, for which let execution issue.



PER CURIAM 		

PANEL D:	SAM J. DAY, J. (Retired, Sitting by Assignment); LIVINGSTON and DAUPHINOT, JJ.



DELIVERED: November 20, 2003

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




